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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )              CASE NO. 1:06cr00463-013
                                              )
       Plaintiff,                             )              JUDGE: JAMES S. GWIN
                                              )
vs.                                           )              ORDER
                                              )
CHARLES BROOKS,                               )
                                              )
       Defendant.                             )



       This matter was heard on July 15, 2015, upon the request of the United States Pretrial and

Probation Office for a finding that defendant violated the conditions of supervised release. The

defendant was present and represented by Attorney David Jack.

       The violation report was referred to Magistrate Judge George J. Limbert on May 12, 2015

[Doc. 646]. The Magistrate Judge issued a Report and Recommendation on June 2, 2015 [Doc.

655]. The Court, finding that no objection to the Report and Recommendation had been filed,

adopted same and found that the following terms of supervision had been violated:

               1) new law violations on March 31 and May 4, 2015;

               2) failure to inform supervising officer of contact with the law

               enforcement;

               3) contact with a person convicted of a felony;

               4) failure to attend drug treatment;
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               5) failure to contact supervising officer;

               6) failure to report to U.S. Pretrial and Probation Office.

The Court found the violations to be Grade C and that defendant was a Criminal History

Category III

       The Court, for the reasons stated on the record, ordered defendant’s supervised release be

continued as originally imposed.

       IT IS SO ORDERED.




Dated: July 16, 2015                                  s/ James S. Gwin
                                                      JAMES S. GWIN
                                                      UNITED STATES DISTRICT JUDGE
